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             UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF TEXAS
                    AUSTIN DIVISION


 Wendy Davis, et al.,

                         Plaintiffs,
                                               Case No. 1:22-cv-00373-RP
 v.

 Mistie Sharp, et al.,

                         Defendants.


 MOTION TO EXPEDITE CONSIDERATION OF DEFENDANTS’
   MOTION TO STAY SUMMARY-JUDGMENT BRIEFING
                    SCHEDULE
      On June 6, 2022, the defendants moved to stay the summary-judgment briefing
schedule (ECF No. 39). The plaintiffs responded to the motion earlier today, and the
defendants have filed their reply (ECF Nos. 42 and 43). The motion is fully briefed
and ready for decision.
      The defendants respectfully request that the Court rule on the motion before
Friday, June 10 — the date on which the defendants’ response to the plaintiffs’ motion
for summary judgment is currently due. The defendants previously indicated that they
would seek mandamus relief from the Fifth Circuit by close of business today, but will
likely hold off doing so until Wednesday, as the Supreme Court’s website indicates
that more rulings will be announced Wednesday morning, which might (or might
not) include an announcement in Dobbs v. Jackson Women’s Health Organization, No.
19-1392. The Court may also wish to wait until Wednesday before ruling on the
motion to stay the summary-judgment briefing schedule given the possibility that
Dobbs could be released tomorrow morning. In all events, the defendants respectfully
ask the Court to rule on the motion before Friday, June 10, and the Court may wish




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to rule sooner if it wants to issue a ruling before the defendants seek mandamus from
the Fifth Circuit.

    We have conferred with counsel for the plaintiffs and they are opposed to this
motion for expedited consideration.

                                           Respectfully submitted.

                                            /s/ Jonathan F. Mitchell
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 Dated: June 7, 2022                       Counsel for Defendants




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                    CERTIFICATE OF CONFERENCE
    On June 7, 2022, I e-mailed Stephanie Toti and Rupali Sharma, counsel for the
plaintiffs. We conferred in a good-faith attempt to resolve this matter by agreement

but were unable to reach agreement on the issues discussed in this motion. See Local
Rule CV-7(g).



                                          /s/ Jonathan F. Mitchell
                                         Jonathan F. Mitchell
                                         Counsel for Defendants




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                      CERTIFICATE OF SERVICE
   I certify that on June 7, 2022, I served this document through CM/ECF upon:

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                                       /s/ Jonathan F. Mitchell
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